        Case 3:09-cr-00321-KI       Document 104   Filed 01/14/11   Page 1 of 38




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                    IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF OREGON

                                PORTLAND DIVISION

 UNITED STATES OF AMERICA,                   CR 09-321-KI

                            Plaintiff,       MEMORANDUM OF ARGUMENT RE
                                             MOTION TO EXCLUDE IMAGES OF
       vs.                                   THE WU LAPTOP AND EXTERNAL
                                             HARD DRIVE.
 HOCK CHEE KHOO, et al.,

                            Defendants.
            Case 3:09-cr-00321-KI                       Document 104                  Filed 01/14/11               Page 2 of 38




                                                     TABLE OF CONTENTS

                                                                                                                                             PAGE

TABLE OF AUTHORITIES. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . iii

STATEMENT OF FACTS. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 2

          A.         The Hoffman Group’s Initiation Of Investigation Activity By The Federal
                     Bureau Of Investigation. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 2

          B.         The Seizure Of The Wu Laptop.. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 4

          C.         Delivery Of The Wu laptop And The USB External Hard Drive Containing
                     The Acronis Back-Up Copy To The FBI And The Creation Of The FTK
                     EnCase Images
                     .................................................................7

          D.         Overview Of The Testimony Of Forensic Computer Expert Michael Bean
                     Regarding The Wu Laptop.. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 8

          E.         The Government’s Misleading Attempt At Rebuttal.. . . . . . . . . . . . . . . . . . . . . . 16

ARGUMENT.. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 20

          DESPITE SERIOUS CONCERNS WITH RESPECT TO SPOILATION OF
          EVIDENCE AND CHAIN OF CUSTODY, THE GOVERNMENT HAS FAILED
          TO ADDUCE SUFFICIENT EVIDENCE TO ENABLE THIS COURT TO REACH
          A PRELIMINARY DETERMINATION REGARDING THE AUTHENTICATION
          OF THE WU LAPTOP AND ACRONIS BACK-UP COPY IMAGES,
          CONSEQUENTLY THOSE IMAGES MUST BE EXCLUDED FROM EVIDENCE
          . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 20

          A.         Where Spoliation Of Electronic Evidence Appears To Have Taken
                     Place, The Proponent Of The Admission Of Such Evidence Must
                     Submit Evidence Of Sufficient Facts To The Court To Enable The
                     Court To Make A Preliminary Determination That The Electronic
                     Evidence Is Trustworthy. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 20




                                                                          i
            Case 3:09-cr-00321-KI                   Document 104               Filed 01/14/11            Page 3 of 38




          B.         As A Condition Precedent To Authentication Of The Logical Content
                     Of The FTK EnCase Wu Laptop And Acronis Back-Up Copy Images,
                     The Government Must Also Authenticate Those Images As
                     Constituting True Reproductions Of The Logical And Physical
                     Content Of The Wu Laptop As It Existed Prior To Its Seizure By
                     Hoffman On October 17, 2006. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 24

          C.         The Extensive Spoliation Of The Electronic Data Content Of The Wu
                     Laptop Precludes Any Valid Determination By This Court With
                     Respect To The Authentication Of The Electronic Data Content Of
                     The FTK Encase Wu Laptop Image.. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 28

CONCLUSION. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 32




                                                                    ii
            Case 3:09-cr-00321-KI                     Document 104               Filed 01/14/11              Page 4 of 38




                                                TABLE OF AUTHORITIES

                                                        FEDERAL CASES

In re Murchison,
       349 U.S. 133 (1955)......................................................................................................... 32

In re Vee Vinhnee,
        336 B.R. 437 (9th Cir. 2005)..................................................................... 22, 24, 25, 31, 32

United States v. Clonts,
       966 F.2d 1366 (10th Cir. 1992)......................................................................................... 23

United States v. Gil,
       58 F.3d 1414 (9th Cir. 1995)............................................................................................. 31

United States v. Jackson,
       208 F.3d 633 (7th Cir. 2000)............................................................................................. 23

United States v. Logan,
       949 F.2d 1370 (5th Cir. 1991)........................................................................................... 20

United States v. Monks,
       774 F.2d 945 (9th Cir.1985).............................................................................................. 31

United States v. Panaro,
       266 F.3d 939 (9th Cir. 2001)............................................................................................. 20

United States v. Reilly,
       33 F.3d 1396 (3rd Cir.1994). ........................................................................................... 31

United States v. Salcido,
       506 F.3d 729 (9th Cir. 2007)............................................................................................. 23

United States v. Stearns,
       550 F.2d 1167 (9th Cir. 1977)............................................................................................ 20

Victor Stanley, Inc. v. Creative Pipe, Inc.,
        269 F.R.D. 497 (D.Md. 2010)........................................................................................... 30

                                                    FEDERAL STATUTES

Fed.R.Evid. 104(b).................................................................................................................. 30, 31

Fed.R.Evid. 402. ........................................................................................................................... 21

                                                                     iii
            Case 3:09-cr-00321-KI                   Document 104               Filed 01/14/11             Page 5 of 38




Fed.R.Evid. 801(d)(2). ................................................................................................................. 31

Fed.R.Evid. 901(a)....................................................................................................... 1, 21, 24, 25

Federal Rules of Evidence Manual (9th ed. 2006)........................................................................ 23

                                                     MISCELLANEOUS

5 Joseph M. McLoughlin ed., Weinstein's Federal Evidence (2d ed. 2005)............... 21, 22, 29, 31

Gregory P. Joseph, A Simplified Approach To Computer-Generated Evidence and Animation,
      43 N.Y. L. Sch. L. Rev. 875, 884 (1999-2000)................................................................. 24

The Sedona Conference,
      The Sedona Principles: Best Practices Recommendations for Addressing Electronic
      Document Production, (Johnathan M. Redgrave et al eds., 2d ed. 2007). ....................... 27




                                                                    iv
          Case 3:09-cr-00321-KI      Document 104        Filed 01/14/11     Page 6 of 38




       Defendant Hock Chee Khoo, through his attorneys of record, Ruben L. Iñiguez and

Christopher J. Schatz, respectfully submits the points and authorities hereinafter set forth as

Mr. Khoo’s argument with respect to the Motion To Exclude Images Of The Wu Laptop And

External Hard Drive [Docket No. 34]. In accordance with Rules 901, 1001, 1002 and 1003 of the

Federal Rules of Evidence, and pursuant to the afore-referenced motion, Mr. Khoo has moved the

Court to exclude from evidence all digital images taken of the laptop computer hard drive used by

Shengbao “Jesse” Wu while employed by The Hoffman Group (hereinafter referred to as the “Wu

laptop”). The grounds for said motion are as follows:

       1.      The government has failed to establish a sufficient nexus between the images

       contained in the Acronis backup file created by Mark Hansen (hereinafter referred

       to as the “Acronis image” and “Acronis backup copy”) and/or the Federal Bureau of

       Investigation’s Forensic Tool Kit EnCase image (hereinafter referred to as the “Wu

       Laptop image”) and the actual data content and configuration of digital images on the

       Wu laptop, to support the government’s claim that the former images accurately

       represent the data on the Wu laptop as such existed prior to the seizure of that

       computer by Drew Hoffman on October 17, 2006. The Acronis backup copy and Wu

       Laptop images should therefore be excluded due to lack of authentication under Rule

       901.

       2.      Following the seizure of the Wu laptop on October 17, 2006, substantial

       spoilation of the data on the computer took place rendering it impossible to

       authenticate the data contained in the Acronis backup copy and Wu Laptop images

       as being identical to the data contained on the Wu laptop prior to its seizure.


PAGE 1.     M EM ORANDUM OF ARGUM ENT RE M OTION TO EXCLUDE IM AGES OF W U LAPTOP.
           Case 3:09-cr-00321-KI      Document 104        Filed 01/14/11     Page 7 of 38




       3.       The Acronis backup copy and Wu Laptop images are not sufficiently accurate

       reproductions of the data content and configuration on the Wu laptop to qualify as

       admissible duplicates as required by Rule 1001. Therefore, said images should be

       excluded from evidence pursuant to Rule 1002.

       4.       Even if the Acronis and Laptop images were to qualify as duplicates, they are

       subject to exclusion under the exceptions noted in Rule 1003, because substantial

       questions pertaining to the authenticity of said images and the manner of their

       creation exist.

                                   STATEMENT OF FACTS1

       A.       The Hoffman Group’s Initiation Of Investigation Activity By The
                Federal Bureau Of Investigation.

       According to Lawrence Andrew Hoffman, in September 2006, his company, The Hoffman

Group, had a popular product, the Lambo Door Kit.2 Hoffman observed that this product was being

sold by an unknown entity on eBay. RT 53.3 According to Hoffman, “we were concerned about it

because the ability of that product’s – the availability, I guess you would say, of that product was



       1
        The Statement of Facts hereinafter set forth is drawn from the testimony and evidence
presented during the course of the motions hearing conducted on November 16, 2010, and from
discovery received from the government to date. References to the reporter’s transcript of the
November 16 proceedings are herein designated “R.T.” followed by appropriate page number(s).
       2
        Litigation pertaining to the ownership of patent rights with respect to this product is
currently ongoing in the Southern District of California. RT 54.
       3
        According to FBI Special Agent Phil Slinkard, Hoffman regularly scoured the Internet, and
more particularly eBay, for the purpose of determining whether his company’s parts were being
infringed on and manufactured by others. RT 90. On August 25 or 26, 2006, Hoffman noticed that
an eBay auction was being conducted with respect to the Lambo Door Kit. This kit was being sold
by a company located in West Linn, Oregon, known as sales@cleanlineauto.com. RT 90.

PAGE 2.     M EM ORANDUM OF ARGUM ENT RE M OTION TO EXCLUDE IM AGES OF W U LAPTOP.
           Case 3:09-cr-00321-KI    Document 104       Filed 01/14/11    Page 8 of 38




hard to come by.” RT 53. Hoffman also was experiencing delay in obtaining this product from the

factories in China that were manufacturing the Hoffman company’s products, and shipments of

Hoffman company products had been delayed. RT 53.

       Hoffman contacted his legal counsel, John Ramig, and commenced an investigation. RT 54.

Subsequently, a company by the name of JES, LLC, was identified as the source of the Lambo Door

Kits that Hoffman had observed being offered for sale on eBay by an entity not related to his

company. Hoffman also found out that the employees of JES were current and former employees

of his company. RT 55. One of the individuals so identified was Jesse Wu, Hoffman’s key contact

person in China. RT 54-55.

       Having identified Wu as possibly being the source of the problem with the Lambo Door Kit,

attorney Ramig contacted the FBI. RT 55. Hoffman then directed Wu to return to the United States

and to bring his laptop computer with him. RT 56.4

       Hoffman testified that he did not know whether the FBI was contacted with respect to Wu’s

return to the United States. RT 57. However, during an interview with Hoffman on September 12,

2006, SA Slinkard was advised that Wu was expected to return to the United States on or about

October 17, 2006. RT 92.5 Indeed, Hoffman told SA Slinkard that Wu was going to arrive in

Portland on Northwest Airlines at 8:05 a.m. on October 17. RT 92.6


       4
         According to Hoffman, he told Wu, “We would like you to return to go through some
training.” RT 58.
       5
       SA Slinkard’s report of his interview with Hoffman was received into evidence as
Defendant’s Exhibit 8. RT 102. A copy of this report is attached hereto as Exhibit A.
       6
        No plan was made by the FBI to interview Wu upon his return to the United States.
SA Slinkard explained that he did not formulate such a plan because he was not the case agent on
the case. According to Slinkard, the case agent was George Chamberlain. RT 93.

PAGE 3.     M EM ORANDUM OF ARGUM ENT RE M OTION TO EXCLUDE IM AGES OF W U LAPTOP.
             Case 3:09-cr-00321-KI     Document 104        Filed 01/14/11      Page 9 of 38




         B.       The Seizure Of The Wu Laptop.

         On October 17, 2006, Hoffman picked Wu up at the airport and then drove to The Hoffman

Group office on Oak Street. Wu was taken into the building and led upstairs to an office where he

was introduced to Mark Hansen. RT 58. Wu was told to give his computer to Hansen because

Hansen was going to update it. RT 59. Wu handed his computer over to Hansen. RT 59.

         When Wu turned his computer over to Hansen, he specifically stated to Hansen, “Don’t touch

this file. Don’t touch this particular spot.” RT 77. After Wu left the room, Hansen copied that file

and Hoffman later found this file, called “Private,” on the laptop. RT 77.

         Once the computer was taken into Hansen’s custody, Hoffman took Wu to the shop area

where Wu was introduced to a lawyer from attorney Ramig’s office. RT 60-61. Another person was

also present whose purpose was to “provide Mr. Wu with some papers concerning the civil matter.”

RT 61.7 There was no Chinese interpreter nor was any representative of the government present.

RT 62.

         After Hansen transferred a copy of the Wu laptop hard drive to a USB external hard drive

using Acronis software, the laptop was given to Hoffman. RT 63. It was now late at night, and

Hoffman recalls opening the laptop and looking in the laptop for any information that could shed

light on the situation that was going on. RT 63.




         7
         On October 16, 2006, Hoffman filed a civil suit in Multnomah County Circuit Court against
Wu, JES Suppliers, LLC, and defendants Soutavong and Khoo, seeking injunctive relief and
monetary damages. A copy of the complaint in Multnomah County Circuit Court Case No. 0610-
10861 is attached hereto as Exhibit B. It is requested that the Court take judicial notice of the filing
date of this litigation pursuant to Federal Rule of Evidence 201(b)(2).

PAGE 4.       M EM ORANDUM OF ARGUM ENT RE M OTION TO EXCLUDE IM AGES OF W U LAPTOP.
          Case 3:09-cr-00321-KI      Document 104        Filed 01/14/11     Page 10 of 38




       For two days the laptop was continuously in Hoffman’s possession. RT 64, 78. On a number

of occasions Hoffman turned the laptop on and booted it up. RT 64.8 During this time period,

Hoffman “could have” moved files from one location on the laptop hard drive to another. RT 71.

Hoffman denied deleting any data from the laptop. RT 71. Hoffman also denied running the

defragmentation utility:

       Q.      Did you delete data from the laptop during that period of time?

       A.      I don’t recall deleting anything.

       Q.      Now, there’s a subtle point between not recalling and I did not. So I just want
       to be clear. Is it your testimony that you did not delete any electronic data from the
       laptop during the period of time it was in your possession?

       A.      That is correct.

       Q.      Did you run the defragmentation utility?

       A.      No, I did not.

RT 64. No one else had access to the computer during the time that Hoffman had it in his

possession. RT 65.

       Hoffman acknowledged that attorney Ramig had assisted him in setting up his company’s

business activities in China. RT 67. With respect to those business activities, Hoffman was asked




       8
        The Wu laptop used a Windows operating system. RT 75. Hoffman testified that he is a
Mac guy (i.e. a user of the Apple Macintosh computer operating system) not a Windows guy. RT 75.
Hoffman testified that he is “not fluent in Windows” and that he is “uncomfortable” with the
Windows operating system. RT 81. Nevertheless, he proceeded to operate the Wu laptop for a
period of several days. RT 81.

PAGE 5.     M EM ORANDUM OF ARGUM ENT RE M OTION TO EXCLUDE IM AGES OF W U LAPTOP.
          Case 3:09-cr-00321-KI     Document 104        Filed 01/14/11      Page 11 of 38




some questions concerning e-mail communications between himself and a Richard X concerning

Hoffman’s avoidance of tariffs on products manufactured for his company in China:9

       Q.      And your response to the statement from Richard X, I guess it is, to you,
       “I was informed by Jess that you need us to separate the CIF price in the invoice to
       the FOB price plus freight cost and insurance so that you can pay less tariff when
       declaring customs,” what was your response? Would you read that into the record?

       A.       My response was, “Please just make the same half invoice and add the value
       to the freight and insurance.”

       Q.      And there’s a response to that by, again, further down, because it says in the
       e-mail from Richard to you, “According to our experience with China customs,
       customs will levy tariff according to the unit price of each item. If we do as you are
       requiring, the unit price of every items will change each time due to the freight cost
       and insurance changes each time. If so, how do you explain to your customs? Will
       it cause any problem to you?” That’s what Richard is saying to you, correct?

       A.      Correct.

       Q.      And what was your response? Would you read that into the record.

       A.      My response was, “No, because we don’t pay on the freight and insurance.”

       Q.      And you recognize these e-mail transmissions as containing data that you
       participated in generating; is that correct?

       A.      Could you repeat that?

       Q.     These are e-mail communications between you and other individuals. You
       recognize them as such?

       A.      Yes.

RT 70-71. According to Hoffman, “[w]hen we realized that there was an issue with the tariffs,

I engaged Mr. Ramig to review it and advise how to solve it so we can get everything squared away.”



       9
        The e-mail communications are set forth in Defendant Khoo’s Exhibits 6 and 7. These
exhibits were received by the Court. RT 71. Copies of Defendant’s Exhibits 6 and 7 are attached
hereto as Exhibit C.

PAGE 6.     M EM ORANDUM OF ARGUM ENT RE M OTION TO EXCLUDE IM AGES OF W U LAPTOP.
          Case 3:09-cr-00321-KI         Document 104      Filed 01/14/11    Page 12 of 38




RT 73. The end result was that Hoffman ended up paying money back to customs for tariffs. RT

74.10 Hoffman did not undertake to clear up his tariff problem until sometime after he had initiated

the Multnomah County civil litigation. RT 79-80. There was no federal investigation. RT 74.11

         C.        Delivery Of The Wu laptop And The USB External Hard Drive
                   Containing The Acronis Back-Up Copy To The FBI And The
                   Creation Of The FTK EnCase Images.

         On October 20, 2006, SA Slinkard met Hoffman at the Northwest Regional Computer

Forensic Laboratory (NWRCFL). RT 99. Hoffman brought the Wu laptop with him at the request

of SA Slinkard. RT 46.12 Hoffman told SA Slinkard that he had turned on the computer and

examined some of its contents. RT 99. Hoffman had examined the folder that was labeled

“Private,” as well as other files. RT 99.13




         10
              Hoffman does not know when the repayment of tariffs was made nor how much was repaid.
RT 80.
         11
         According to FBI Special Agent George Chamberlain, during the course of interaction with
Brian Emerson, and/or Emerson’s attorney, Jeff Edelson, information pertaining to tariff fraud by
Hoffman was revealed to him. RT 39. SA Chamberlain was the “case agent” on the Hoffman
company investigation. RT 93. SA Chamberlain did not require Hoffman to produce invoices with
respect to products he had imported into the United States in order to determine whether the
allegations concerning tariff fraud were accurate. RT 40. There was some discussion between Agent
Chamberlain and personnel of the United States Attorney’s Office concerning the tariff fraud
accusation, but no investigation of the tariff fraud accusation was initiated. RT 40-41.
SA Chamberlain was subsequently advised that Hoffman had made repayments with respect to tariff
costs, but he never verified the claim or determined how much Hoffman repaid. RT 48.
         12
        According to SA Chamberlain there was no communication between the FBI and Hoffman
between September 13 and October 20, 2006. RT 46. Nor did the FBI become aware that Hoffman
had possession of the Wu laptop until October 20, 2006. RT 46.
         13
         SA Slinkard acknowledged in his testimony that Hoffman “did spend a fair amount of time
looking through files.” RT 99. Hoffman also created a folder on the laptop labeled “QQ.” RT 99.

PAGE 7.         M EM ORANDUM OF ARGUM ENT RE M OTION TO EXCLUDE IM AGES OF W U LAPTOP.
          Case 3:09-cr-00321-KI         Document 104        Filed 01/14/11     Page 13 of 38




        While Hoffman was at the Northwest Regional Computer Forensic Laboratory, SA Slinkard

observed him make a copy of the one of the files on the Wu laptop hard drive. RT 101.

Notwithstanding Hoffman’s claim as to a lack of familiarity with the Windows operating system on

the laptop, Hoffman did not appear to experience any difficulty copying from the laptop hard drive

to his USB device. RT 102.

        Forensic images of the Wu laptop and the USB external hard drive containing the Acronis

backup copy were subsequently created between November 3, 2006, and November 6, 2006.

RT 158. The forensic imaging was performed by FBI Special Agent Joel Brillhart. RT 161-62.

        D.         Overview Of The Testimony Of Forensic Computer Expert Michael
                   Bean Regarding The Wu Laptop.14

        Based on his review of a report prepared by Mark Hansen, Bean was informed Hansen took

custody of the Wu laptop computer on October 17, 2006. Hansen located a folder or file on the

computer hard drive, named “Private,” which he then moved to the computer’s desktop. RT 109-

110. One of the cornerstones of forensic computer practice is not to alter the state of the data on an

item being analyzed. RT 110.

        The file system on the Wu laptop hard drive was NTFS.15 Within this type of file system,

file locations are stored and tracked by a Master File Table (MFT). The Master File Table is a

master list in the form of a table used to record where files reside on the disc. This master list is the

only way a computer is able to locate files to run programs and retrieve or store data. RT 110. By

moving the “Private” folder from its original position on the directory tree of the Wu laptop hard


        14
             The Court recognized Bean as an expert in forensic computing. RT 107.
        15
             NTFS is the standard file system (i.e., architecture) for the operating system for Windows
XP.

PAGE 8.        M EM ORANDUM OF ARGUM ENT RE M OTION TO EXCLUDE IM AGES OF W U LAPTOP.
          Case 3:09-cr-00321-KI         Document 104       Filed 01/14/11      Page 14 of 38




drive to the desktop of the hard drive, Hansen altered the Master File Table on the Wu laptop hard

drive. The “movement of that folder from one place to the other on the disc at a minimum would

have changed the data in the master file table relating to the storage location on the disc of where that

information resided . . ..” RT 110.16

        Bean was provided two Forensic Tool Kit EnCase images of the Wu laptop computer by the

FBI. RT 109.17 One of the images was of the Wu laptop and one was of a USB external hard drive

storage device that held the Acronis software backup copy that had originally been made by Hansen.

RT 112.18 Looking at the Wu laptop computer image, Bean was able to confirm that the Acronis


        16
          From the standpoint of forensic computing principles, the first error committed by Hansen
was that he turned the Wu laptop computer on. The second error was his movement of the “Private”
folder or file. RT 110-11. It is inappropriate, from a forensic computer expert’s standpoint, to turn
on a computer that is under investigation for the following reason:

        Since simply starting a computer, turning a computer on will invoke the commands
        to basically activate the operating system on that computer, that operating system is
        going to start running any predefined scripts. Any things that are supposed to happen
        on startup are going to run. Therefore, dates and times of information is going to
        change on the allocated space, and anything that happens to be overwritten or is too
        large for the current storage is going to overwrite the unallocated space. So many
        changes can be made to a computer just by simply turning it on.

RT 111.
        17
          Forensic Tool Kit (FTK) is a forensic software made by AccessData. RT 108. EnCase,
developed by Guidance software, is a format that is used to store hard drive images. FTK has the
ability to create images using the EnCase format. Rt 108-09. Thus, in this case, the Forensic Tool
Kit software was utilized to create images of the Wu laptop hard drive and the Hansen USB device
containing the Acronis backup copy in the EnCase format. RT 109.
        18
         Bean found that the NWRCFL computer that had been used to create the FTK images had
not been properly calibrated because the creation dates preserved in the images were October 3 and
October 5, 2006:

        The forensic software records the date and time of the computer that was used to
        make the image. In this case, the date and time of the computer that was used to

PAGE 9.      M EM ORANDUM OF ARGUM ENT RE M OTION TO EXCLUDE IM AGES OF W U LAPTOP.
        Case 3:09-cr-00321-KI         Document 104         Filed 01/14/11      Page 15 of 38




software had been installed on the Wu laptop hard drive. RT 112.19 The most immediate impact of

installing the Acronis software on the Wu laptop hard drive was that, as a new piece of information

coming into the file system, it’s “going to override something in unallocated space in order to

provide further room for the active data to be stored.” RT 112.20 From a forensic computer

examiner’s standpoint, it is important to preserve the status of unallocated space when an

examination of a hard drive begins. RT 113.

        According to Bean, software exists that has been “designed specifically to capture

unallocated space as well as allocated space,” so as to “authenticate, be able to authenticate that later

as not having changed from the time it was collected.” RT 113. Imaging software generates a “bit

for bit copy . . . that includes allocated as well as unallocated space.” RT 113. The Acronis backup

software is a program limited to the reproduction of the allocated space (i.e. the space marked in

active use by the Master File Table) on a hard drive. RT 113. Moreover, the Acronis backup

software does not create an identifying mark, such as a hash value, that provides a means by which

to determine whether the files within an Acronis backup copy have been altered, added, or deleted.



        make the image was set to the 3rd, and the other one was set to the 5th, if they used
        two separate computers, or they did it on two separate dates, one two days after the
        other.

RT 139.
        19
          Bean determined that the Acronis software had been installed on the Wu laptop computer
at approximately 1:13 a.m. on October 18, 2006 (China time). RT 132. Based on the logs Bean was
able to recover from the FTK Encase Wu laptop computer image, it appeared the Acronis software
was run on at least four occasions, three of which failed. RT 132.
        20
         Unallocated space is space that the Master File Table is not keeping track of. Unallocated
space “contains information that’s either been deleted at a prior time or it’s just extra space that’s
not being occupied by files that the ordinary user can access, which would be the allocated space.”
RT 112-13.

PAGE 10.     M EM ORANDUM OF ARGUM ENT RE M OTION TO EXCLUDE IM AGES OF W U LAPTOP.
        Case 3:09-cr-00321-KI          Document 104         Filed 01/14/11      Page 16 of 38




RT 115.21 Consequently, the Acronis backup software is not recognized as a forensic imaging tool.

RT 113-14.

        Bean undertook to explain how a computer hard drive functions so as to assist the Court in

its understanding of the deficiencies of the Acronis backup copy software. Before a hard drive is

employed by a user, the only file data contained on the hard drive is that of the operating system and

any programs that have been installed on the hard drive. RT 115-16. When a file is written to the

hard drive, the sector(s) on the hard drive involved with that file creation are filled with electronic

data. RT 116. Sectors are grouped by the Master File Table (MFT) into clusters for ease of

transferability of data. RT 116.

        As electronically stored information, a file contains two distinct data components. One of

the components is the file content. The other component is the metadata that is specific to the file.

RT 116. System metadata is included in a file’s electronic data but it is often not immediately visible

to a user. System metadata deals with the created dates, the access dates, the written dates, the last

written dates, and additional data under the NTFS file system, such as an entry modified date.

RT 117. With respect to the importance of metadata, Bean observed: “The metadata helps tie back

and confirm what file was where, and I could also track – or anyone could track, for that matter, the

history of the file and a lot of useful things from the metadata.” RT 117.

        Slack space is defined as anything in a sector that is not occupied by current logical data –

i.e. by data that will be recognized as a file or electronic document by the Master File Table.


        21
           A “hash value” is simply a series of numbers produced by a logarithm that generates a
digital fingerprint for the content of a file. RT 114. Depending on whether it’s an MD5 or SRA-1
hash value, the hash value basically means “how many . . . how many digits are in that digital
fingerprint.” RT 114. The forensic utility of a hash value lies in the fact that if the electronic content
of a file changes, the hash value of the file will also change. RT 114.

PAGE 11.     M EM ORANDUM OF ARGUM ENT RE M OTION TO EXCLUDE IM AGES OF W U LAPTOP.
        Case 3:09-cr-00321-KI         Document 104         Filed 01/14/11      Page 17 of 38




RT 118.22 When a file or electronic document is deleted, the Master File Table will no longer

recognize the file as being present. However, the electronic data remains and can be recovered

unless and/or until it is overwritten. RT 118. The Acronis backup software copy is not an exact

copy of the Wu laptop hard drive because it does not capture unallocated space. RT 120.

        In the course of examining the Wu laptop images, Bean found that the Acronis backup copy

contained 285 files in a folder called “Lost Files,” a folder that had been created by the FBI’s FTK

imaging software to hold files that could not be resolved back to any specific folder by the FTK

imaging process. Pertinently, none of the 285 files contained in the Acronis backup software copy

could be found on the FTK Encase image of the Wu laptop computer. RT 122. Based on this

discovery, Bean concluded:

        Well, obviously if there’s files that exist in the Acronis backup copy that do not exist
        in the forensic image of the laptop, and the Acronis backup copy was made prior to
        the image of the laptop, there was some deleting going on on the laptop. So those 285
        files, at a minimum, had been deleted prior to the EnCase image being made of the
        laptop.

RT 122.

        Electronically stored information is subject to manipulation and change. For example, it is

possible to change the date entries on data so that data that is stored on the computer can be re-dated



        22
           The Master File Table groups hard drive sectors into larger clusters for ease of
transferability of data. RT 116. “Slack space” is created within a cluster of sectors if the logical data
(i.e. user data or program files) does not fill an entire cluster. Slack space is the unused disk space
within a cluster. When a logical data file is marked by a user or system action as “deleted,” the file
remains on the hard drive, but the space it occupies is marked by the Master File Table as available
(i.e. unallocated space) to which new data can be written. In other words, the data will no longer
be present on the Master File Table, its entry will have been deleted, but the data itself is still
retrievable using forensic examination tools. When new data is written to that unallocated cluster
space, if the new data does not completely overwrite the old data, the remnant of the old data that
resides in the slack space of the new data can also be retrieved. RT 118.

PAGE 12.     M EM ORANDUM OF ARGUM ENT RE M OTION TO EXCLUDE IM AGES OF W U LAPTOP.
        Case 3:09-cr-00321-KI          Document 104        Filed 01/14/11      Page 18 of 38




to a time prior to its actual creation. RT 123. With respect to the content of the Acronis software

backup copy, Bean noted, “There is no way to authenticate that that data today is the same as it was

the day it was collected.” RT 123.23

       According to Bean, file metadata is also important to the determination whether

electronically stored information has been manipulated. RT 124. File metadata can be lost by

deletion if a defragmentation utility is run.24 After the Acronis backup copy had been made, Bean

found evidence that the defragmentation utility had, in fact, been employed on the Wu laptop. Bean

explained the effect of running this utility:

       The defragmentation program, also known as defrag, is a utility provided by
       Windows on all Windows-operating machines. What that utility does is it tries to
       optimize the system. So it makes the data that is currently in unallocated space that
       may be fragmented across several sectors, based on the fact that when a file comes
       in, it just puts data wherever it can fit. So you may -- you have some fragmentation
       there, and it takes a while to resolve all those different locations. So if you can relate
       to opening a large file on your computer, usually it takes longer than opening a small
       file on a computer, and that’s why, because you have to resolve all of those different
       extents of the file. The purpose of defrag is to take the information that is not . . . in
       the active master file table as being an active file, and moving that information
       around in the unallocated space to make as many files in -- held contiguously in their
       clusters versus fragmented. And that’s the purpose of it. So it would take
       information from the bottom of the hard drive or the bottom of the unallocated space
       and try to move it as close to the top as it could, overwriting what was in the top spot
       in the unallocated clusters as long as it wasn’t allocated for use.


       23
         If something was to be changed in the FTK EnCase image, the hash value of the EnCase
image will not match up with the hash value of the computer data content as it was on the date the
FTK EnCase image was originally made. RT 123. However, as noted previously, the Acronis
software does not support hash valuation and therefore it is impossible to tell whether the electronic
data content on the USB device was manipulated prior to the time that the FTK EnCase image of that
device was made.
       24
         By removing the Master File Table records of deleted files and overwriting space marked
unallocated, the “Defrag” utility renders deleted file data unrecoverable. See Supplemental
Declaration Of Computer Forensics Expert Michael A. Bean In Support Of Motion To Exclude
Images Of The Wu Laptop Hard-Drive [Docket No. 82], at p. 4.

PAGE 13.    M EM ORANDUM OF ARGUM ENT RE M OTION TO EXCLUDE IM AGES OF W U LAPTOP.
        Case 3:09-cr-00321-KI         Document 104        Filed 01/14/11      Page 19 of 38




RT 130-31. Bean determined that the defrag utility had been employed at 11:44 a.m. China time.25

Converting from China time to Pacific Standard Time, the defrag operation or utility was run at

approximately 8:44 p.m. on October 17. RT 131.26

       Bean was specifically asked to search for two e-mail files or folders on the FTK EnCase Wu

laptop image with the extension “.PST.” The extension .PST stands for personal storage table which

is an Outlook e-mail file. Bean was asked to search for two such files, one labeled 2006 and the

other one 2005.

       Bean located a “Hoffman 2006” .PST file in deleted space in the FTK EnCase Wu laptop

image. RT 127. However, Bean was not able to open it with Outlook. RT 127. Bean was not able

to determine from evaluating the file when it had been deleted, nor could he find a “Hoffman 2005”

.PST file on the computer. RT 127-28.

       With respect to the manipulation of the electronically stored information on the Wu laptop

hard drive, Mr. Bean testified as follows:

       From the time the Acronis image was listed to have been created, between that time
       and the time of the last file on the system that I could see, there were over a thousand
       files that had either been created, accessed or written to that hard drive from the time
       that Jesse relinquished control of that to Mark Hansen . . .

RT 128. According to Bean, the use and employment of the Wu laptop hard drive “degraded the

amount of unallocated cluster data that I had to work with . . ..” RT 129. In addition to activity with

respect to the aforereferenced 1000 files, Bean also noticed that the Wu laptop hard drive had been

used to conduct web surfing as well as installation of programs. According to Bean, “[A]ll of those


       25
            The Wu laptop computer was actually set in its registry to China time. RT 130.
       26
        Although he denied employing the defrag utility, Hoffman testified it was “late at night”
when he opened and booted-up the Wu laptop on October 17, 2006. RT 63.

PAGE 14.      M EM ORANDUM OF ARGUM ENT RE M OTION TO EXCLUDE IM AGES OF W U LAPTOP.
        Case 3:09-cr-00321-KI        Document 104         Filed 01/14/11      Page 20 of 38




things combined had a tremendous effect on the content of the unallocated space and any

recoverability of data from there, and even if I do recover it, how much was really there and how

much was missing.” RT 129.

       In conclusion, Bean stated as follows with respect to the forensic integrity of the FTK EnCase

images of the Wu laptop and the Acronis backup copy:

       Q.       As a computer forensic expert, do you have an opinion as to whether the data
       contained on the FTK EnCase Wu laptop image has sufficient trustworthiness and
       integrity that you can say with reasonable certainty that the data as it is now displayed
       in that image was on the Wu laptop computer when the computer was taken from
       Mr. Wu on the morning of October 17, 2006?

       A.      Absolutely not. That data that is contained in the EnCase image that the FBI
       made has changed. From the time that Wu surrendered that computer, there was
       overwriting, there was installation of software, there was Web surfing, there was
       mass deletions, there was a defragmentation ran. There is no way that the data that
       resides in that image today is the same as it was when it was surrendered by Wu.

       Q.      As a forensic computer expert, do you have an opinion as to whether the data
       contained on the FTK EnCase Acronis backup copy image has sufficient
       trustworthiness and integrity that you can say with reasonable certainty that the data
       as it is now displayed in that image was on the Wu laptop computer when the
       computer was taken from Wu on the morning of October 17, 2006?

       A.      No. The Acronis image, as you can see by the exhibits that we’ve already
       shown, the data in that is different. It’s missing the unallocated space. The Acronis
       software has not been tested. It’s not accepted in the forensic community as an
       imaging tool. If anything, it’s been advised not to use that as an imaging tool. And
       there’s no unallocated clusters. There’s no way that I can recover the 75,000 files.
       Those same 75,000 files should be recoverable in the Acronis image if the
       unallocated space existed. It does not. I cannot recover those same files like I did.
       Even though there was alteration of the laptop that was imaged, I was still able to
       recover things from unallocated space.

RT 134.




PAGE 15.   M EM ORANDUM OF ARGUM ENT RE M OTION TO EXCLUDE IM AGES OF W U LAPTOP.
        Case 3:09-cr-00321-KI        Document 104        Filed 01/14/11     Page 21 of 38




       E.      The Government’s Misleading Attempt At Rebuttal.

       In rebuttal to the testimony of Forensic Computer Expert Bean, the government called

Portland Police Bureau Officer Steven Johns.27 Johns testified that he is currently assigned to the

Northwest Regional Computer Forensic Laboratory in Portland as a computer forensic examiner.

RT 155.

       During the 2006-2007 time period, Johns was familiar with a person by the name of FBI

Special Agent Joel Brillhart. RT 156. According to Johns, when a case is completed at the

laboratory, both a peer review and an administrative review is conducted. RT 155. The peer review

is a review that is done by people who are technically knowledgeable about the subject the examiner

has participated in. In this case, “the peer review was done by a computer forensics examiner.”

RT 155. Johns conducted the administrative review, which he described as “more of a cross the T’s

and dot the I’s review to make sure the case numbers are properly entered and the documentation is

properly formatted.” RT 155-56.

       Based on his review of NWRCFL records, Johns testified that the Acronis backup copy and

the Wu laptop were initially checked into the Evidence Control Facility on November 1, 2006.

RT 157.28 The Wu laptop and the Acronis backup copy were later checked out again for imaging




       27
         No attempt to qualify Johns as an expert witness was made, and the Court did not recognize
Johns as an expert witness.
       28
         It should be noted that in his examination of Johns, AUSA Nyhus repeatedly referred to the
Acronis backup copy made by Hansen as the “Acronis image.” RT 157. Insofar as the Acronis
software did not generate a byte-for-byte (i.e., physical content) reproduction of the Wu laptop hard
drive disk space, so as to reproduce all electronic data in allocated as well as unallocated sector
space, referring to the product generated by use of the Acronis backup copy software as an “image”
is improper.

PAGE 16.    M EM ORANDUM OF ARGUM ENT RE M OTION TO EXCLUDE IM AGES OF W U LAPTOP.
        Case 3:09-cr-00321-KI       Document 104       Filed 01/14/11     Page 22 of 38




on November 3, and returned to the evidence room on November 6, 2006. RT 158.29 Johns does

not know who had possession of the Acronis backup copy and the Wu laptop from October 20 to

November 1. RT 159-60.30

       Based on his review of SA Brillhart’s file and materials, Johns did not find any indication

that the NWRCFL’s forensic computer imaging equipment had not been properly calibrated.

RT 161. In his opinion, SA Brillhart had concluded his “examination within acceptable guidelines.”

RT 161.

       Testifying on cross-examination, Johns acknowledged that the Acronis backup copy software

is not a standard forensic imaging tool that is used at the Northwest Regional Computer Forensic

Laboratory. RT 164. Johns has never used the Acronis backup software to make a forensic image,

and he would not use such software to make a forensic image. RT 164. Johns did not personally

examine the FTK EnCase images of the Wu laptop computer hard drive or the Acronis software

backup copy. RT 164-65.

       Johns had not been advised before he was called to court that a concern had arisen with

respect to the calibration of the NWRFCL’s equipment that could have resulted in misstating the

dates of creation for the images. RT 165. Johns was unable to state whether, given the technology



       29
         A report of this imaging activity was generated. RT 158. A request for production of this
report and all related NWRFCL file documentation has been tendered to the government.
       30
         AUSA Nyhus had clearly been under the impression that the Wu laptop and the Acronis
backup copy contained on Hansen’s USB external hard drive had been checked into the NWRFCL
on October 20 or 21. RT 157, 159. He was surprised by John’s answer that the records of the
Evidence Control Facility disclosed that the Wu laptop and the Acronis backup copy had not been
checked into the Evidence Control Facility until November 1, 2006. RT 159. No explanation for
this breakdown in the chain of custody pertaining to these items has been tendered by the
government to date.

PAGE 17.    M EM ORANDUM OF ARGUM ENT RE M OTION TO EXCLUDE IM AGES OF W U LAPTOP.
        Case 3:09-cr-00321-KI        Document 104        Filed 01/14/11     Page 23 of 38




utilized by SA Brillhart in creating the FTK EnCase images, a date entry was embedded in the

images. RT 165-66.31

       The limited scope and substance of Johns’ testimony is disclosed by the following question

and answer sequence:

       Q.      So as you sit here today, separate and apart from your review of paperwork,
       you’re not able to tell us what the FTK EnCase Wu laptop image contains with
       respect to a creation or acquired date; is that correct?

       A.      Correct.

       Q.     If Sergeant Brillhart – or Special Agent Brillhart erred, and his paperwork is
       incorrect, you are unable to verify the creation or acquired date of the FTK EnCase
       images; isn’t that correct?

       A.      I reviewed his notes, and whatever he had as a date that he did the acquisition
       is what I went on.

       Q.      So you’re relying solely on Special Agent Brillhart’s notes?

       A.      Yes.

       Q.      And not on any examination of the imaged data itself?

       A.      Correct.

RT 167-68.32




       31
          In this regard, Johns stated, “So I’m not familiar with that methodology, although it is
approved and acceptable. I do not know whether or not there is embedded information within those
files. So I can’t answer that right now.” RT 166. Again, referring to the software used by SA
Brillhart to create the images, Johns admitted: “I do have some expertise with the software he used
to create EO1 images. However, I do not have the expertise to let you know whether or not the
metadata information within the EO1 images contains information that would tell you the acquired
date of those particular images in question.” RT 166-67.
       32
        Johns also reviewed the peer reviewer’s notes pertaining to SA Brillhart’s activities in
imaging the Wu laptop and the USB external drive containing the Acronis backup copy. RT 168.

PAGE 18.    M EM ORANDUM OF ARGUM ENT RE M OTION TO EXCLUDE IM AGES OF W U LAPTOP.
        Case 3:09-cr-00321-KI       Document 104        Filed 01/14/11      Page 24 of 38




       On redirect, AUSA Nyhus attempted to have Johns suggest to the Court that the “hash

values” of the “images” were identical:

       Q.      There has been some question about or some talk about what an MD5
               hash is. Did you compare the hash values of the images before and
               after?

       A.      I did.

       Q.      Were all before hash values compared to and against each other?

       A.      The images files in the case notes, yes. I compared both before and
               after.

       Q.      So the hash values, did they match?

       A.      Yes, they did.

RT 170.

       On recross, Johns admitted that the hash values he was referring to were not hash values

associated with the content of the Wu laptop and the Acronis backup copy, but simply the hash

values associated with the forensic images generated by SA Brillhart:

       Q.      In terms of the hash values that you compared, is it not the case that
               those are the hash values simply of the imaged files themselves, not
               of the content?

       A.      Yes.

       Q.      And those – that analysis you did with respect to the hash values is
               simply of the imaged files themselves, that was done by looking at the
               paperwork; is that correct?

       A.      Correct.

RT 171.33


       33
          As explained by Forensic Computer Expert Bean, when a forensic image is created, there
is a hash value that is constructed on that image. RT 114. If the hash value connected to an image

PAGE 19.    M EM ORANDUM OF ARGUM ENT RE M OTION TO EXCLUDE IM AGES OF W U LAPTOP.
        Case 3:09-cr-00321-KI         Document 104        Filed 01/14/11      Page 25 of 38




                                            ARGUMENT

 DESPITE SERIOUS CONCERNS WITH RESPECT TO SPOILATION OF EVIDENCE
   AND CHAIN OF CUSTODY, THE GOVERNMENT HAS FAILED TO ADDUCE
       SUFFICIENT EVIDENCE TO ENABLE THIS COURT TO REACH A
  PRELIMINARY DETERMINATION REGARDING THE AUTHENTICATION OF
          THE WU LAPTOP AND ACRONIS BACK-UP COPY IMAGES,
  CONSEQUENTLY THOSE IMAGES MUST BE EXCLUDED FROM EVIDENCE.

        A.      Where Spoliation Of Electronic Evidence Appears To Have
                Taken Place, The Proponent Of The Admission Of Such
                Evidence Must Submit Evidence Of Sufficient Facts To The
                Court To Enable The Court To Make A Preliminary
                Determination That The Electronic Evidence Is Trustworthy.

        Evidence may be admitted only if the court “is satisfied by evidence sufficient to support a

finding that the matter in question is what its proponent claims.” F.R.E. 901(a). The key purpose

of the authentication requirement is to ensure that only genuine and trustworthy evidence is

considered at trial. See, e.g., United States v. Panaro, 266 F.3d 939, 951 (9th Cir. 2001) (for evidence

to meet authenticity requirement, trial court “must be satisfied that it is ‘accurate, authentic, and

generally trustworthy’”) (citations omitted). This inquiry is a threshold to introduction of evidence,

not simply a matter bearing on the weight to be afforded it. See United States v. Logan, 949 F.2d

1370, 1377-78 (5th Cir. 1991); United States v. Stearns, 550 F.2d 1167, 1170 (9th Cir. 1977) (before




changes, the forensic examiner knows that the content of the image or file has also changed. On the
other hand, if the “hash value remains the same, it means that the data remain the same from the time
I collected it.” RT 115. The thrust of Johns’ testimony concerning the hash values of the “images”
was simply that there did not appear to have been any change in the content of the images subsequent
to their creation. No hash value analysis was ever performed comparing the hash values associated
with the contents of the Wu laptop, as they existed on October 17, 2006, prior to the laptop’s seizure
by Hoffman, and the hash values of the subsequently created FTK EnCase images.

PAGE 20.     M EM ORANDUM OF ARGUM ENT RE M OTION TO EXCLUDE IM AGES OF W U LAPTOP.
        Case 3:09-cr-00321-KI         Document 104         Filed 01/14/11      Page 26 of 38




photograph can be admitted, it must be authenticated as technically accurate representation of scene

photographed).34

       While in many respects the issues pertaining to the authentication of a paper record and the

authentication of electronic record data are similar, there are also important differences:

       Authenticating a paperless electronic record, in principle, poses the same issue as for
       a paper record, the only difference being the format in which the record is
       maintained: one must demonstrate that the record that has been retrieved from the
       file, be it paper or electronic, is the same as the record that was originally placed into
       the file. Fed.R.Evid. 901(a).

       Hence, the focus is not on the circumstances of the creation of the record, but
       rather on the circumstances of the preservation of the record during the time
       it is in the file so as to assure that the document being proffered is the same as
       the document that originally was created.

       In the case of a paper record, the inquiry is into the procedures under which the file
       is maintained, including custody, access, and procedures for assuring that the records
       in the files are not tampered with. The foundation is well understood and usually is
       easily established. See Edward J. Imwinkelried, EVIDENTIARY FOUNDATIONS §4.03[1]
       (5th ed.2002) (“Imwinkelried”); 5 Weinstein §900.07[1][b][i].

       The paperless electronic record involves a difference in the format of the record
       that presents more complicated variations on the authentication problem than
       for paper records. Ultimately, however, it all boils down to the same question of
       assurance that the record is what it purports to be.




       34
          Federal Rule of Evidence 402 provides that, except for certain specified limitations, all
relevant evidence is admissible, and all irrelevant evidence “is not admissible.” Federal Rule of
Evidence 401 declares that to be relevant, evidence must have a “tendency to make any fact that is
of consequence to the determination of a matter more probable or less probable than it would be
without the evidence.” An item of evidence can perform this function in the ascertainment of the
truth only if it is in fact what its proponent claims it to be. Accordingly, “authentication is a
mandatory first step in determining evidence to be relevant.” 5 Joseph M. McLoughlin ed.,
Weinstein’s Federal Evidence § 900.06[1][b] (2d ed. 2005). Evidence that is not what its proponent
claims it to be is irrelevant and inadmissible under Rule 402. Id.

PAGE 21.    M EM ORANDUM OF ARGUM ENT RE M OTION TO EXCLUDE IM AGES OF W U LAPTOP.
        Case 3:09-cr-00321-KI        Document 104        Filed 01/14/11      Page 27 of 38




In re Vee Vinhnee, 336 B.R. 437, 444 (9th Cir. 2005) (footnotes omitted) (emphasis added).35

       That the difference in format, as between paper and electronic records, can present unique

challenges with respect to admissibility, has been recognized.

       Use at trial. In general, the Federal Rules of Evidence apply to computerized data as
       they do to other types of evidence. Computerized data, however, raise unique issues
       concerning accuracy and authenticity. Accuracy may be impaired by incomplete data
       entry, mistakes in output instructions, programming errors, damage and
       contamination of storage media, power outages, and equipment malfunctions. The
       integrity of data may also be compromised in the course of discovery by
       improper search and retrieval techniques, data conversion, or mishandling. The
       proponent of computerized evidence has the burden of laying a proper
       foundation by establishing its accuracy.

       The judge should therefore consider the accuracy and reliability of computerized
       evidence, including any necessary discovery during pretrial proceedings, so that
       challenges to the evidence are not made for the first time at trial. . . ..

MANUAL FOR COMPLEX LITIGATION        (Fourth) §11.446 (2004) (emphasis added); see also In re Vee

Vinhnee, 336 B.R. at 445 (“[D]igital technology makes it easier to alter text of documents that have

been scanned into a database, thereby increasing the importance of audit procedures designed to

assure the continuing integrity of the records.”).




       35
       Computer-based documents are distinct from hard-copy paper documents in two
fundamental ways:

       First, computer-based documents contain metadata that is not revealed in a hard-copy
       printout of the document . . ..

       Second, “deleted” computer-generated documents are not irretrievably lost (at least
       for a potentially long time), unlike missing, destroyed, or (for the most part) shredded
       paper documents. Recovering deleted electronic documents is often possible,
       although the process may sometimes be time consuming and costly . . ..

5 Joseph M. McLoughlin ed., Weinstein’s Federal Evidence §900.01[3] (2d ed. 2005).

PAGE 22.    M EM ORANDUM OF ARGUM ENT RE M OTION TO EXCLUDE IM AGES OF W U LAPTOP.
        Case 3:09-cr-00321-KI         Document 104        Filed 01/14/11      Page 28 of 38




        Where there is a genuine concern that computer-based electronic evidence may have been

altered or manipulated, an additional degree of scrutiny by the courts is appropriate. See Saltzburg,

Martin & Capra, Federal Rules of Evidence Manual §901.02[3] (9th ed. 2006) (“[W]hen it comes

to the question of whether the Judge must make a preliminary determination before admitting

evidence, as opposed to simply deciding there is enough for the jury to decide whether to rely on the

evidence, the best reading of Rule 901 would be to follow a case-by-case approach and to demand

a more substantial foundation where the circumstances might create a suspicion that evidence is

altered or fabricated.”). In order to warrant this heightened scrutiny, the objecting party must make

a showing that raises serious concerns about authenticity. See United States v. Jackson, 208 F.3d

633, 638 (7th Cir. 2000) (even if web postings, in which white supremacists took responsibility for

racist mailings, qualified for business records hearsay exception, they were “inadmissible if the

source of information or the method or circumstances of preparation indicate a lack of

trustworthiness;” thus, proponent failed to authenticate web postings, since there was some evidence

that she had the motive and technological ability to place them on the groups’ web sites herself); see

also United States v. Clonts, 966 F.2d 1366, 1368 (10th Cir. 1992) (“[I]f the evidence is open to

alteration or tampering, or is not readily identifiable, the trial court requires a more elaborate chain

of custody to establish that the evidence has not been tampered with or altered.”) (citations

omitted).36




        36
         Chain of custody is a component of authentication. See, e.g., United States v. Salcido, 506
F.3d 729, 733 (9th Cir. 2007) (“[T]he government properly authenticated the videos and images under
Rule 901 by presenting detailed evidence as to the chain of custody, specifically how the images
were retrieved from the defendant’s computers.”).

PAGE 23.      M EM ORANDUM OF ARGUM ENT RE M OTION TO EXCLUDE IM AGES OF W U LAPTOP.
        Case 3:09-cr-00321-KI         Document 104        Filed 01/14/11      Page 29 of 38




       B.      As A Condition Precedent To Authentication Of The Logical
               Content Of The FTK EnCase Wu Laptop And Acronis Back-Up
               Copy Images, The Government Must Also Authenticate Those
               Images As Constituting True Reproductions Of The Logical And
               Physical Content Of The Wu Laptop As It Existed Prior To Its
               Seizure By Hoffman On October 17, 2006.

       When the origin of a record or document offered into evidence is the electronic data on a

computer, in addition to the basic foundation requisite to admissibility of that record or document,

an additional authentication foundation regarding the computer and software utilized to create that

record or document must be established in order to assure the continuing accuracy of the record or

document in question. In re Vee Vinhnee, 336 B.R. at 442.37 The situation in the instant case is even

more complicated in that the government seeks to adduce documents taken, not from the original Wu

Laptop, but from second-generation sources – the FTK EnCase Wu Laptop image and the FTK

EnCase Acronis backup copy image. Thus, in addition to authentication of the Wu Laptop software

systems, a third tier of complexity and authentication must be addressed with respect to

authentication of the electronic data contained in the images. This third tier requires that the images

themselves be authenticated as constituting identical reproductions of the Wu Laptop hard drive

electronic data content as such existed at the time the Wu Laptop was seized on October 17, 2006.

       Federal Rule of Evidence 901(b)(9) “was designed to encompass computer-generated

evidence.” In re Vee Vinhnee, 336 B.R. at 446. Rule 901(b)(9) provides:




       37
         There are two types of software – systems programs (which govern the operation of the
computer) and application programs (which put the computer to a particular use, such as to create
a balance sheet or recreate an event) – both of which must be authenticated if electronically created
and/or stored data is to be admissible. See Gregory P. Joseph, A Simplified Approach To
Computer-Generated Evidence and Animation, 43 N.Y.L. Sch. L. Rev. 875, 884 (1999-2000).

PAGE 24.    M EM ORANDUM OF ARGUM ENT RE M OTION TO EXCLUDE IM AGES OF W U LAPTOP.
        Case 3:09-cr-00321-KI         Document 104        Filed 01/14/11      Page 30 of 38




       (9) Process or system. Evidence describing a process or system used to produce a
       result and showing that the process or system produces an accurate result.38

While the theory of operation and general reliability of computers and electronic software is often

a subject of judicial notice, theory and general reliability are only a part of the foundation necessary

to authenticate an electronically reproduced record. Among other requirements, in the instance of

electronically preserved documentation, the procedures utilized in such preservation must contain

“built-in safeguards to ensure accuracy and identify errors.” In re Vee Vinhnee, 336 B.R. at 446.39

       Forensic Computer Expert Michael Bean testified that neither the FTK EnCase Acronis

image nor the FTK EnCase Wu laptop image had sufficient trustworthiness and integrity to allow

him to say with reasonable certainty that the data content of those images reproduced the data that

was on the Wu laptop at the time Hoffman seized it on October 17, 2006. In response to AUSA

Nyhus’ attempt at a simplistic analogy comparing two pieces of paper – one taken from the Acronis

backup copy image and one from the Wu laptop image – Forensic Computer Expert Bean repeatedly




       38
         The Advisory Committee Note to Rule 901(b)(9) describes the scope of application of this
subpart as follows:

       Example 9 is designed for situations in which the accuracy of a result is dependent
       upon a process or system which produces it. X rays afford a familiar instance.
       Among more recent developments is the computer, as to which see Transport
       Indemnity Co. v. Seib, 178 Neb. 253, 132 N.W.2d 871 (1965); [other citations
       omitted]. Example (9) does not, of course, foreclose taking judicial notice of the
       accuracy of the process or system.
       39
          As noted in In re Vee Vinhnee, the “built-in safeguards to ensure accuracy and identify
errors” “subsume details regarding computer policy and system control procedures, including control
of access to the database, control of access to the program, recording and logging of changes, backup
practices, and audit procedures to assure the continuing integrity of the records.” 336 B.R. at 446-
47 (emphasis added).

PAGE 25.    M EM ORANDUM OF ARGUM ENT RE M OTION TO EXCLUDE IM AGES OF W U LAPTOP.
        Case 3:09-cr-00321-KI        Document 104        Filed 01/14/11      Page 31 of 38




pointed out that the lack of integrity and functionality associated with the Acronis back-up copy

software rendered any such attempted comparison highly suspect:

       Q.      On the hypothetical, if I created a copy of something and used the contents
       to prove the content, and they’re identical one to the other, what does it matter if one
       is not a forensic image to the other?

       A.      That’s what I’m telling you. You cannot – I cannot confirm the starting digital
       fingerprint of the Acronis, the content that’s contained in the Acronis image. So even
       though a spreadsheet that may be named the same as it is in the EnCase image,
       I don’t know that the two content are the same because this may have changed.
       I can’t confirm that it did or it didn’t because there was no hash values made when
       the image was made. On the other hand, the EnCase image, I can tell that it didn’t
       change, but is it the same? Did they put it on here after? Who knows? I can’t tell
       because it wasn’t imaged correctly from the beginning.

       ....

       Q.     I guess I’m going back to my question. It says”Mr. Bean” here and it says
       “Mr. Bean” there. Okay?

       A.      Understand.

       Q.      Mr. Bean says Mr. Bean. These two look like identical copies. They’re not
       forensic images of each other but they’re identical copies?

       A.      They’re probably not --

       Q.     Does it matter, then, sir, to the content of the assertion of Mr. Bean and Mr.
       Bean that 256 forensic copies are -- files are missing?

       A.     Yes, it does matter. That’s what I’m telling you. The content from the files,
       the “Mr. Bean” file and the Acronis image cannot be verified from the time it was
       made. So I cannot take that and compare the digital fingerprint. If they would have
       just made an MD5 image, that would have been fine and I could have had a digital
       fingerprint to compare it to the data in the EnCase image. They didn’t do that. It
       wasn’t the FBI that didn’t do it, it was Mark Hansen that didn’t do it. The FBI just
       imaged bad stuff already that had been destroyed. So I can’t take the Acronis, the
       data out of the Acronis image that does not have a starting point and compare it to
       something with a known starting point, other than to say it wouldn’t match.




PAGE 26.    M EM ORANDUM OF ARGUM ENT RE M OTION TO EXCLUDE IM AGES OF W U LAPTOP.
        Case 3:09-cr-00321-KI        Document 104        Filed 01/14/11      Page 32 of 38




RT 143, 144-45.40

       Given the deficiencies associated with the Acronis back-up copy software, the FBI’s failure

to take action to secure custody of the Wu laptop notwithstanding knowledge that Hoffman had

directed Wu to return to Portland, the damage inflicted by Hansen’s activities with respect to loading

the Acronis software onto the Wu laptop,41 the damage and spoliation caused by Hoffman’s

manipulation of the Wu laptop, the apparent breach in the chain of custody between the date the Wu

laptop and the Hansen USB external drive were taken into custody by the FBI (October 20-21, 2006)

and the date those items were logged into evidence (November 1, 2006),42 the apparent calibration

error with respect to the NWRCFL’s imaging equipment,43 the government’s failure to identify the

standards and protocols employed in the creation of the FTK EnCase images,44 and the fact that the

       40
         As previously noted, the government’s witness, NWRCFL Operations Manager Steven
Johns, testified that he would not use the Acronis backup software to make a forensic image.
RT 164.
       41
        “More generally, electronically stored information is more easily and more thoroughly
changeable than paper documents. Electronically stored information can be modified in numerous
ways that are sometimes difficult to detect without computer forensic techniques. Moreover, the
act of merely accessing or moving electronic data can change it. For example, booting up a
computer may alter data contained on it. Simply moving a word processing file from one location
to another may change creation or modification dates found in the metadata.” The Sedona
Conference, The Sedona Principles: Best Practices Recommendations for Addressing Electronic
Document Production (Johnathan M. Redgrave et al eds., 2d ed. 2007), at p. 3.
       42
         Operations Manager Johns testified that he did not know who had possession of the Wu
laptop and the Acronis back-up copy USB external drive device between October 20, 2006 and
November 1, 2006. RT 159-60.
       43
         The creation date of the FTK EnCase Acronis image is October 3, 2006; the creation date
of the FTK EnCase Wu laptop image is October 5, 2006. See Declaration Of Computer Forensics
Expert Michael A. Bean In Support Of Motion To Exclude Images Of The Wu Laptop Hard-Drive
[Docket No. 36], at pp. 6-7.
       44
          The government failed to identify the protocols and procedures utilized by the FBI in
creating the FTK Encase Wu Laptop and Acronis backup copy images, notwithstanding Forensic

PAGE 27.    M EM ORANDUM OF ARGUM ENT RE M OTION TO EXCLUDE IM AGES OF W U LAPTOP.
        Case 3:09-cr-00321-KI          Document 104         Filed 01/14/11      Page 33 of 38




FTK EnCase image of the Wu Laptop could only produce an image of an already compromised

computer hard drive,45 there are simply no facts whereby this Court may find that the “process or

system” used to produce the FTK EnCase Wu laptop and Acronis back-up copy images produced

an accurate result (i.e., that these images accurately reproduced the entirety of the electronic data that

existed on the Wu Laptop prior to its seizure).

        C.      The Extensive Spoliation Of The Electronic Data Content Of The
                Wu Laptop Precludes Any Valid Determination By This Court
                With Respect To The Authentication Of The Electronic Data
                Content Of The FTK Encase Wu Laptop Image.

        Proof of facts adequate to assure the continuing integrity of the electronic data content on the

Wu Laptop is essential to the authentication of that content. During the motion hearing, testimony

that the Wu Laptop had been subjected to intrusive manipulation by Hansen and Hoffman was


Computer Expert Bean’s testimony that the FBI’s imaging computer or computers were not properly
calibrated. AUSA Nyhus made several contradictory statements concerning the use of protocols by
the FBI in conducting a forensic examination of the contents of a computer and/or in making a
forensic image of a computer hard drive. Initially, AUSA Nyhus represented to the Court that
“[t]here is no set protocol for examination or extraction of evidence in every case.” RT 9. However,
AUSA Nyhus also stated that “[t]here is a practice and procedure within the FBI that’s maintained
by the National Program Office. Quantico manages that material as it trains its agents.” RT 9.
According to NWRFCL Operations Manager Johns, the laboratory obtained its standard operating
procedures from the Digital Evidence Laboratory at Quantico, Virginia. RT 172-73. However, no
testimony as regards compliance with preset protocols by the FBI in creating the laptop hard drive
and Acronis backup copy images was adduced by the government, nor did FBI Special Agent Joel
Brillhart, the agent who made the images, testify.
        45
         In his cross-examination of Forensic Computer Expert Bean, AUSA Nyhus characterized
the conclusion to be drawn from Bean’s evaluation of the FTK EnCase Wu laptop and Acronis back-
up copy images as follows:

        Q.      So what this amounts to really is that the FBI imaged bad stuff?

        A.      Yes, sir.

RT 153 (emphasis added).

PAGE 28.     M EM ORANDUM OF ARGUM ENT RE M OTION TO EXCLUDE IM AGES OF W U LAPTOP.
        Case 3:09-cr-00321-KI        Document 104         Filed 01/14/11      Page 34 of 38




received. The government failed to rebut this testimony and failed to provide proof of any

foundational facts sufficient to enable this Court to find that a reasonable jury could make a

determination that the contents of the Wu Laptop, prior to its seizure on October 17, 2006, and the

contents of either of the FTK EnCase images are identical.

       When issues arise as to the integrity of electronic data, Weinstein’s treatise is clear as to the

proof required:

       Files stored in a computer hard drive or a diskette are subject to manipulation and
       corruption unless proper safeguards are taken . . .. Accordingly, if documents are
       produced or seized in an electronic format, a proper authentication foundation must
       show both what the evidence was when gathered and that it has remained unchanged
       since then. A foundation similar to a “chain of custody” that accounts for each step
       at which a change to the evidence might occur will satisfy an objection that files in
       a computer hard drive or diskette are not authentic.

5 Joseph M. McLoughlin ed., Weinstein’s Federal Evidence §900.07[2][b] (2d ed. 2005).

       Hoffman’s manipulation of the Wu laptop while it was in his possession resulted in

spoliation.46 Although Hoffman claimed he did not delete any files, his commission of tariff fraud

with respect to The Hoffman Group products he was importing into the United States from China

discloses that he had a motive to secret and suppress information pertaining to his criminal violation

of U.S. import tax laws. The 2005 Outlook e-mail communications between Hoffman and



       46
          Forensic Computer Expert Bean found that, following the seizure of the Wu laptop, over
a thousand files on the laptop’s hard drive had either been created, accessed or written to. RT 128.
The manner in which the Wu laptop was manipulated and used following its seizure “degraded the
amount of unallocated cluster data” that Bean had to work with. RT 129. Bean also found files in
the FTK EnCase Acronis backup copy image that he did not find in the FTK EnCase Wu laptop
image, again confirming that deletion of files had occurred. RT 123-24. The law of spoliation of
electronic evidence and remedies for spoliation are discussed in Mr. Khoo’s Reply To Government’s
Response To Motion To Exclude Images Of The Wu Laptop Hard-Drive And Request For
Immediate Production Of Information Relevant To Determination Of Pending Motions [Docket No.
78], at pp. 14-16.

PAGE 29.    M EM ORANDUM OF ARGUM ENT RE M OTION TO EXCLUDE IM AGES OF W U LAPTOP.
        Case 3:09-cr-00321-KI          Document 104         Filed 01/14/11      Page 35 of 38




Richard X, submitted as Defendant Khoo’s Exhibits 6 and 7, also involved Wu. Forensic Computer

Specialist Bean was asked to search the FTK EnCase Wu laptop image for Outlook e-mail files for

the time periods 2005 and 2006. RT 127. He was able to locate only a single Hoffman 2006 .PST

file in deleted space. RT 127. He was not able to determine when this file had been deleted.

Hoffman also denied employing the defrag utility while the Wu laptop was in his possession. RT 64-

65. However, Bean’s determination that the defrag utility had been run at approximately 8:44 p.m.

on October 17, 2006, contradicts Hoffman’s denial. RT 131.47

        Authentication issues implicate Federal Rule of Evidence 104(b)’s “relevancy conditioned

on fact” provision which provides that “[w]hen the relevancy of evidence depends upon the

fulfillment of a condition of fact, the court shall admit it upon, or subject to, the introduction of

evidence sufficient to support a finding of the fulfillment of the condition.”48 In accordance with

Rule 104(b), in the face of a challenge to the authenticity of evidence, a trial court must make a

preliminary ruling as to the sufficiency of the evidence to enable a reasonable jury to ultimately


        47
        In Victor Stanley, Inc. v. Creative Pipe, Inc., 269 F.R.D. 497, 504 n.14 (D.Md. 2010),
Magistrate Judge Grimm observed: “[I]t is foreseeable that the running of a disk defragmentation
program colloquially referred to as ‘defragging,’ can result in the loss of the files that were
recoverable before the defragmentation occurred.”
        48
           The “fulfillment of the condition” in the instance of the FTK Wu laptop and Acronis backup
copy images is that the data content of those images represents a complete reproduction of the
physical data content of the Wu Laptop as it existed on October 17, 2006. In other words, the
government must establish that the FTK Wu laptop and Acronis backup copy images are
“duplicates” of the Wu Laptop – i.e. that they are “counterparts” which “accurately reproduce[] the
original.” See Federal Rule of Evidence 1001(4). In this regard , it is pertinent to note that Federal
Rule of Evidence 1003 provides that “[a] duplicate is admissible to the same extent as an original
unless (1) a genuine question is raised as to the authenticity of the original or (2) in the circumstances
it would be unfair to admit the duplicate in lieu of the original.” Further discussion of the extent to
which the afore-referenced images fail to qualify as duplicates of the original Wu laptop computer
is set forth in the Memorandum Of Points And Authorities In Support Of Motion To Exclude Images
Of The Wu Laptop And External Hard Drive [Docket No. 35], at pp. 21-24.

PAGE 30.     M EM ORANDUM OF ARGUM ENT RE M OTION TO EXCLUDE IM AGES OF W U LAPTOP.
        Case 3:09-cr-00321-KI         Document 104        Filed 01/14/11     Page 36 of 38




resolve the authentication issue. 5 Joseph M. McLoughlin ed., Weinstein’s Federal Evidence

§900.06[1][c][i] (2d ed. 2005). As the Ninth Circuit declared in United States v. Gil, 58 F.3d 1414,

1419-1420 (9th Cir. 1995):

       To find that the ledgers constituted admissions, there must be sufficient evidence to
       enable the jury to decide that the defendants authored or adopted the ledgers. See
       Fed.R.Evid. 801(d)(2)(A) & (B). When evidence is admitted subject to the jury’s
       finding that a threshold condition is satisfied, “[t]he judge makes a preliminary
       determination whether the foundation evidence is sufficient to support a finding of
       fulfillment of the condition.” Fed.R.Evid. 104(b) advisory committee’s note; see
       United States v. Reilly, 33 F.3d 1396, 1404-05 (3rd Cir.1994) (“[O]nce the court
       finds that evidence has been introduced sufficient to permit a reasonable juror to find
       that the matter in question is what its proponent claims, a sufficient foundation for
       introduction in evidence has been laid.”); United States v. Monks, 774 F.2d 945, 950
       (9th Cir.1985) (holding that before introducing evidence as an adoptive admission,
       “the district court must first find that sufficient foundational facts have been
       introduced for the jury reasonably to conclude that the defendant did actually hear,
       understand and accede to the statement”).

       The “key purpose of authentication is to ensure that only genuine and trustworthy evidence

is considered.” 5 Joseph M. McLoughlin ed., Weinstein’s Federal Evidence §900.06[1][a] (2d. ed.

2005). Although the authentication determination is a preliminary determination, it is still the case

that it is the Court’s duty to act as a “gatekeeper” and exclude evidence that does not bear sufficient

indicia of trustworthiness. In re Vee Vinhnee, 336 B.R. at 443.49


       49
        Rule 104(b) does not explicitly establish the amount of proof necessary to make a
preliminary finding with respect to the facts requisite to authenticate an item of evidence. According
to Weinstein,

       Ordinarily, a judge may - as a condition precedent to admission - make a preliminary
       finding merely on a prima facie showing that “the matter in question is what its
       proponent claims.” Under this standard, a judge need only determine that a
       reasonable juror could find that the evidence is genuine and what its proponent
       claims it to be.”

5 Joseph M. McLoughlin ed., Weinstein’s Federal Evidence §900.06[1][c][ii] (2d. ed. 2005).
Mr. Khoo contends that, given the nature of the evidence (as involving computers and complex

PAGE 31.    M EM ORANDUM OF ARGUM ENT RE M OTION TO EXCLUDE IM AGES OF W U LAPTOP.
        Case 3:09-cr-00321-KI        Document 104        Filed 01/14/11    Page 37 of 38




       Genuine questions as to the authenticity of the data content of the FTK EnCase Wu laptop

and Acronis backup copy images have been raised. It was therefore incumbent on the government

at the November 16 hearing, to submit such evidence as to the foundational facts as would enable

a reasonable jury to determine “that the record reproduced from the electronic media is identical to

the record that was originally stored.” In re Vee Vinhee, 336 B.R. at 449. The government wholly

failed to adduce any facts to meet its burden of proof in this regard.

                                         CONCLUSION

       A “fair trial in a fair tribunal is a basic requirement of due process.” In re Murchison, 349

U.S. 133, 136 (1955). Federal Rule of Evidence 102 states that the rules of evidence “shall be

construed to secure fairness in administration, elimination of unjustifiable expense and delay, and

promotion of growth and development of the law of evidence to the end that the truth may be

ascertained and proceedings justly determined.”

       In the course of pleading grounds for exclusion of the FTK EnCase images of the Wu laptop

computer, and during the motion hearing of November 16, 2010, Mr. Khoo has demonstrated that:

(1) the Acronis backup copy was made using software that has not been approved for forensic

imaging use; (2) spoliation of the Wu laptop hard drive commenced with Hansen’s use of the

Acronis software and continued through Hoffman’s two/three day rummaging around in the contents

of the Wu laptop hard drive; (3) analysis of the FTK EnCase image of the Wu Laptop hard drive

discloses that thousands of files were added, altered and/or created after the lap top was seized by



technological questions), a clear and convincing evidence standard should be employed in the
authentication determination. See Reply To Government’s Response To Motion To Exclude Images
Of The Wu Laptop Hard-Drive And Request For Immediate Production Of Information Relevant
To Determination Of Pending Motions [Docket No. 78], at pp. 7-9.

PAGE 32.   M EM ORANDUM OF ARGUM ENT RE M OTION TO EXCLUDE IM AGES OF W U LAPTOP.
        Case 3:09-cr-00321-KI         Document 104       Filed 01/14/11    Page 38 of 38




Hoffman; (4) analysis of the FTK EnCase image of the Wu Laptop hard drive discloses that its

unallocated disk space contains thousands of deleted files that cannot be recovered, and for which

the date of deletion cannot be determined; (5) that files were deleted from the Wu laptop after the

Acronis software was installed and run; (6) that a defrag utility was run while the lap top was in

Hoffman’s possession; (7) that Hoffman had a motive to delete files and run the defrag utility in

order to delete e-mail and hide his criminal activity in avoiding U.S. tariffs on products imported

from China; (8) that there is an unexplained breach in the chain of custody between the time

Hoffman turned over the Wu Laptop and the Hansen USB device to SA Slinkard (October 20-21,

2006) and the date that those items were logged into evidence at the NWRFCL facility (November

1, 2006); and (9) that the NWRFCL’s imaging equipment had not been properly calibrated at the

time the FTK EnCase images were made.

       The requirements of authentication as a precondition to admissibility may not be great, but

they nonetheless exist as the hinge to the gate that this Court, as gatekeeper, must not swing open

unless and until sufficient trustworthy evidence as to the appropriateness of substituting the FBI’s

forensic images for the original data content of the Wu laptop has been adduced by the government.

The government was given its day in Court on November 16, 2010, to make such a showing of

trustworthiness. It failed to do so. The FTK EnCase images and the data content of those images

should be declared inadmissible at trial in this case.

       Respectfully submitted this January 14, 2011.

                                               /s/ Christopher J. Schatz
                                               Christopher J. Schatz
                                               Attorney for Defendant Hock Chee Khoo




PAGE 33.   M EM ORANDUM OF ARGUM ENT RE M OTION TO EXCLUDE IM AGES OF W U LAPTOP.
